Case 4:07-cv-05944-JST Document 1660-21 Filed 04/25/13 Page 1of 4

Exhibit 65 —
24

25

Case 4:07-cv-05944-JST Document 1660-21 Filed 04/25/13 Page 2 of 4

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA
SAN FRANCISCO DIVISION

---o00---

In Re: CATHODE RAY TUBE (CRT)
ANTITRUST LITIGATION,

Plaintiff,
Case No.
07-5944 Se
MDL No. 1917

This Document Relates to:

ALL ACTIONS,

ee ee 8 8 et

VIDEOTAPED DEPOSITION OF KERRY LEE HALL

WEDNESDAY, MARCH 21, 2012

REPORTER: BALINDA DUNLAP, CSR 10710, RPR, CRR, RMR

Kerry Lee Hall

BARKLEY

=
Court Reporters

12:13

12:13

12:14

12:14

12:14

Case 4:07-cv-05944-JST Document 1660-21 Filed 04/25/13 Page 3 of 4

CRT that you allege is inside your television?

A. Unless it was stated somewhere on the box
or in the manual.

Q. Any other way?

A. If it was online, if there was a
description of it online.

Q. Have you searched online to see if you
could determine who manufactured your television?

A. No.

Q. Have you searched online to see if you
could determine who manufactured the CRT that you
allege is inside your television?

A. No.

Q. Have you looked at the box or in the
manual to see if you could determine who
manufactured the CRT inside your television?

A. No.

Q. If the CRT that you allege is inside your
television was manufactured by a nondefendant like
Sony or Mitsubishi as you have mentioned, do you
still think that you would still have a claim in
this case?

MR. GRALEWSKI: Object to the form. Calls
for a legal opinion. Lacks foundation. Compound.

Q. BY MR. FOSTER: You can answer.

113

Kerry Lee Hall

BARKLEY

Court Reporters

12:15

12:15

12:15

8

9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

Case 4:07-cv-05944-JST Document 1660-21 Filed 04/25/13 Page 4 of 4

A. No.
Q. Do you know where your television was
manufactured?

A. Without reading through the manual or
looking on the box, no.
Q. Do you know where the CRT that you allege
is inside your television was manufactured?
A. No.
MR. FOSTER: Okay. I am about to move to
a different subject. I don't know whether you want
to take a break now or keep going.
MR. GRALEWSKI: Can we go off the record
for a second?
MR. FOSTER: Sure.
THE VIDEOGRAPHER: The time is 12:16. We
are off the record.
(Whereupon the noon recess was taken.)

---000---

114

Kerry Lee Hall

BARKLEY

=
Court Reporters

